









Dismissed and Memorandum Opinion filed February 16, 2006









Dismissed and Memorandum Opinion filed February 16,
2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00037-CR

____________

&nbsp;

DONALD GENE
PIFER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
232nd District Court

Harris County,
Texas

Trial Court Cause No. 996,462

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to theft of property of the
value of over $20,000 and less than $100,000.&nbsp;
In accordance with the terms of a plea bargain agreement with the State,
the trial court sentenced appellant on December 12, 2005, to confinement for
seven years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice
of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed February 16, 2006.

Panel consists of Chief Justice
Hedges and Justices Yates and Anderson. 

Do Not Publish C Tex. R. App. P. 47.2(b).





